                        Case 15-20647                         Doc 1         Filed 06/15/15 Entered 06/15/15 09:14:21                                                  Desc Main                6/15/15 8:57AM

B1 (Official Form 1)(04/13)
                                                                              Document     Page 1 of 83
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Burnidge, Tracy A.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-8956
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  11N060 Johnstown Rd.
  Elgin, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60124
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Kane
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
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                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Burnidge, Tracy A.
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X
                                                                                           Signature of Attorney for Debtor(s)                     (Date)



                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)
                                                                  Document     Page 3 of 83                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Burnidge, Tracy A.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Tracy A. Burnidge                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Tracy A. Burnidge

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 15, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ David M. Siegel
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      David M. Siegel #06207611                                                                debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      David M. Siegel & Associates
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      790 Chaddick Drive
      Wheeling, IL 60090                                                                       Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (847) 520-8100
     Telephone Number
     June 15, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Tracy A. Burnidge                                                                        Case No.
                                                                                 Debtor(s)           Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
             mental deficiency so as to be incapable of realizing and making rational decisions with respect to
             financial responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:          /s/ Tracy A. Burnidge
                                                                                     Tracy A. Burnidge
                                                       Date:         June 15, 2015




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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          Tracy A. Burnidge                                                                              Case No.
                                                                                                         ,
                                                                                        Debtor
                                                                                                                Chapter                   7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS                 LIABILITIES              OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes             1                         0.00


B - Personal Property                                          Yes             3                    2,150.00


C - Property Claimed as Exempt                                 Yes             1


D - Creditors Holding Secured Claims                           Yes             1                                                0.00


E - Creditors Holding Unsecured                                Yes             3                                          120,000.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             25                                    19,460,431.74
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             2                                                                   2,302.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                   2,737.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     40


                                                                         Total Assets               2,150.00


                                                                                          Total Liabilities          19,580,431.74




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re           Tracy A. Burnidge                                                                           Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                              TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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  In re         Tracy A. Burnidge                                                                              Case No.
                                                                                                      ,
                                                                                        Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                              Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                          Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption




                       None




                                                                                                      Sub-Total >               0.00          (Total of this page)

                                                                                                           Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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  In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Checking Account1st State Bank of St. Charles                     -                        1,000.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        T.V., & Furniture                                                 -                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Normal Apparel                                                    -                           150.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                                Sub-Total >            2,150.00
                                                                                                                    (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                    Case 15-20647                     Doc 1            Filed 06/15/15 Entered 06/15/15 09:14:21                       Desc Main           6/15/15 8:57AM
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B6B (Official Form 6B) (12/07) - Cont.




  In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                Sub-Total >                  0.00
                                                                                                                    (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    X
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                                Sub-Total >                  0.00
                                                                                                                    (Total of this page)
                                                                                                                                     Total >           2,150.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                            (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Tracy A. Burnidge                                                                                      Case No.
                                                                                                            ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                   Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account1st State Bank of St. Charles     735 ILCS 5/12-1001(b)                                                               1,000.00                         1,000.00

Household Goods and Furnishings
T.V., & Furniture                                                          735 ILCS 5/12-1001(b)                                      1,000.00                         1,000.00

Wearing Apparel
Normal Apparel                                                             735 ILCS 5/12-1001(a)                                        150.00                            150.00




                                                                                                            Total:                    2,150.00                         2,150.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
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 B6D (Official Form 6D) (12/07)


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  In re         Tracy A. Burnidge                                                                                            Case No.
                                                                                                                ,
                                                                                                 Debtor

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                            O    N   I
                                                            D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT            UNSECURED
           INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                       I    Q   U                          PORTION, IF
                                                            T   J             DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                         DEDUCTING
          AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF              ANY
            (See instructions above.)
                                                                C                  OF PROPERTY
                                                            R
                                                                                  SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No.                                                                                                                   E
                                                                                                                              D




                                                                       Value $
Account No.




                                                                       Value $
Account No.




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Account No.




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_____ continuation sheets attached
                                                                                                             (Total of this page)
                                                                                                                         Total                   0.00                      0.00
                                                                                               (Report on Summary of Schedules)

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  In re         Tracy A. Burnidge                                                                                                  Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             2         continuation sheets attached
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   In re         Tracy A. Burnidge                                                                                           Case No.
                                                                                                                ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)


                                                                                                                         Domestic Support Obligations
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No.                                                          Child Support                                            E
                                                                                                                              D

Michele Burnidge
5N202 Shady Oaks Court                                                                                                                                   0.00
Saint Charles, IL 60175
                                                                 -

                                                                                                                                                 0.00                    0.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)                0.00                    0.00




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   In re         Tracy A. Burnidge                                                                                            Case No.
                                                                                                                 ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          2006 - 2008                                               E
                                                                                                                               D

IRS                                                                  Income Taxes
Internal Revenue Service                                                                                                                                  0.00
P.O. Box 7346
                                                                 -
Philadelphia, PA 19101-7346

                                                                                                                                            120,000.00           120,000.00
Account No.




Account No.




Account No.




Account No.




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            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)          120,000.00           120,000.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)            120,000.00           120,000.00

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   In re         Tracy A. Burnidge                                                                                       Case No.
                                                                                                                  ,
                                                                                                Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                             W
                AND ACCOUNT NUMBER
                                                                         B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                         T   J                                                              N   U   T
                                                                         O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R
                                                                             C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xx xx xxxx xx xx 1613                                                NOTICE ONLY                                                T   T
                                                                                                                                                E
                                                                                                                                                D

5/3 Bank
5050 Kingsley Dr. 1MOC2G                                                     -
Cincinnati, OH 45263

                                                                                                                                                                             0.00
Account No. 5696                                                                 10/06 - 3/11
                                                                                 Purchases
Advanta
PO Box 9217                                                                  -
Old Bethpage, NY 11804-9217

                                                                                                                                                                     14,195.00
Account No.                                                                      Purchases

Alessandra, Carlo & Joe D'Argento's
40w310 LaFox Road                                                            -
Suite N2
Saint Charles, IL 60175
                                                                                                                                                                     70,000.00
Account No.                                                                      Services

Allied Waste
1565 Aurora Ave Lane                                                         -
Aurora, IL 60505

                                                                                                                                                                       1,500.00

                                                                                                                                        Subtotal
 24 continuation sheets attached
_____                                                                                                                                                                85,695.00
                                                                                                                              (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx xx xx 1913                                                      Judgment                                                E
                                                                                                                                         D

Amcore Bank
1210 S Alpine Road                                                           -
Rockford, IL 61108

                                                                                                                                                           10,858.00
Account No. 5510                                                                 6/05 - 7/10
                                                                                 Auto Deficiency
Amcore Bk
501 7th St.                                                                  -
Rockford, IL 61110

                                                                                                                                                               442.00
Account No.                                                                      Loan

American Bank
2580 Foxfield Rd # 201                                                       -
Saint Charles, IL 60174

                                                                                                                                                             8,120.00
Account No. xx xx 3105                                                         8/14
                                                                               Mortgage Deficiency
American Bank & Trust                                                          5N202 Shady Oaks Court
3730 18th Ave.                                                               - St. Charles, IL 60175
Rock Island, IL 61204

                                                                                                                                                         691,606.00
Account No.                                                                      Services

AMI Communications, Inc.
300 cardinal Drive                                                           -
Suite 280
Saint Charles, IL 60175-6597
                                                                                                                                                       1,919,418.00

           1
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                       2,630,444.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Collections                                             E
                                                                                                                                         D

Ariano, Hardy, Ritt, Nyuli, Richmon
2000 McDonald Road                                                           -
Suite 200
South Elgin, IL 60177
                                                                                                                                                               779.00
Account No.                                                                      Loan

Arnie Silvestri
243 Planters Row                                                             -
Geneva, IL 60134

                                                                                                                                                           25,000.00
Account No.                                                                      Collections

AT&T
Bankruptcy Dept                                                              -
5407 Andrew Highway
Midland, TX 79706
                                                                                                                                                               558.00
Account No.                                                                      NOTICE ONLY

Bank of America Home Loans
Correspondance/Bankruptcy Dept.                                              -
ca6-919-01-41 PO Box 5170
Simi Valley, CA 93062
                                                                                                                                                                   0.00
Account No. 0132                                                                 8/07 - 1/10
                                                                                 Purchases
BARCLAYSBANK
PO Box 8803                                                                  -
Attn:CREDIT BUREAU
Wilmington, DE 19899
                                                                                                                                                             3,417.00

           2
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           29,754.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Batavia Can Co
1444 N Farnworth Ave                                                         -
Suite 117
Aurora, IL 60505
                                                                                                                                                             2,100.00
Account No.                                                                      Loan

Bayview Loan Servicing
Attn: Customer Service                                                       -
4425 Ponce de Leon Blvd, 5th Floor
Coral Cables, FL 33146
                                                                                                                                                             2,006.00
Account No.                                                                      Collections

Berkley Net Underwiters
12701 Marblestone Dr                                                         -
Suite 250
Woodbridge, VA 22192
                                                                                                                                                               366.00
Account No.                                                                      Collections

Borgans Painting
1046 Robinson St.                                                            -
Elburn, IL 60119

                                                                                                                                                             8,000.00
Account No.                                                                      Business Services

Borhart Spellmeyer & Company
2205 Point Boulevard                                                         -
Suite 160
Elgin, IL 60123
                                                                                                                                                               700.00

           3
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           13,172.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Cananwill, Inc.
PO Box 7495                                                                  -
Carol Stream, IL 60197-4795

                                                                                                                                                           13,317.00
Account No. xxxx xx xr 846                                                       Judgment

Cannon Financial Services
PO Box 4004                                                                  -
Carol Stream, IL 60197

                                                                                                                                                           40,000.00
Account No. 0837                                                                 2/12 - 4/12
                                                                                 Purchases
Capital One
PO Box 85015                                                                 -
Richmond, VA 23285

                                                                                                                                                                 54.00
Account No.                                                                      Loan

Carol Boose
4N657 Hidden Oaks Road                                                       -
Saint Charles, IL 60175

                                                                                                                                                         140,000.00
Account No.                                                                      Collections

Chasecard
Bankruptcy Department                                                        -
PO Box 15298
Wilmington, DE 19850
                                                                                                                                                           15,139.00

           4
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                         208,510.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. x0534                                                                Collections                                             E
                                                                                                                                         D

Citi
Attn: Bankruptcy Department                                                  -
PO Box 6241
Sioux Falls, SD 57717
                                                                                                                                                           20,501.00
Account No.                                                                      Purchases

CitiFinancial
1 PENNS WAY                                                                  -
New Castle, DE 19721

                                                                                                                                                           12,257.00
Account No. 1295                                                                 Purchases

City of Geneva
155 First St.                                                                -
Geneva, IL 60134

                                                                                                                                                             1,000.00
Account No. 2130                                                                 Business Services

City of Geneva
22 South First Street                                                        -
Geneva, IL 60134

                                                                                                                                                                 13.00
Account No. 0004                                                                 Services

Comcast
PO Box 3002                                                                  -
Southeastern, PA 19398-3002

                                                                                                                                                             2,100.00

           5
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           35,871.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Creative Masonry
1470 N Pembroke Drive                                                        -
South Elgin, IL 60177

                                                                                                                                                           30,000.00
Account No.                                                                      Purchases

Dan O Connell
28 N First Street                                                            -
Suite 3
Geneva, IL 60134
                                                                                                                                                             5,500.00
Account No.                                                                      Purchases

Dave Cotter
40w301 Route 64                                                              -
Wasco, IL 60183

                                                                                                                                                           20,000.00
Account No.                                                                      Services

Debtstoppers Bankruptcy Law Firm
1444 N Farnsworth Ave                                                        -
Aurora, IL 60505

                                                                                                                                                           13,350.00
Account No. 8373                                                                 7/09 - 7/11
                                                                                 Collections
Delnor Community
c/o StCollsRv                                                                -
2509 S. Stoughton Road
Madison, WI 53716
                                                                                                                                                               459.00

           6
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           69,309.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Drendel & Jansons Law Group
111 Flinn Street                                                             -
Batavia, IL 60510

                                                                                                                                                             2,061.00
Account No.                                                                      Purchases

Eagle Concrete
1305 S River St.                                                             -
Batavia, IL 60510

                                                                                                                                                           16,000.00
Account No. xx xx 3446                                                           Judgment

Edward Don Company
9801 Adam Don Pkwy                                                           -
Woodridge, IL 60517

                                                                                                                                                             8,355.00
Account No. xxxx xx 2377                                                         Judgment

Engineering Resource Associates, In
3S701 West                                                                   -
Suite 150
Warrenville, IL 60555
                                                                                                                                                             5,391.00
Account No.                                                                      Back Wages

Eric Jareczek
1951 Cobblestone Drive                                                       -
Carpentersville, IL 60110

                                                                                                                                                           26,377.00

           7
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           58,184.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. x401a                                                                Purchases                                               E
                                                                                                                                         D

ETS Enviromental & Assoc.
1820 Wallace Ave                                                             -
Suite 123
Saint Charles, IL 60174
                                                                                                                                                             3,600.00
Account No.                                                                      Loan

Exceleo Group, Inc.
455 East State Parkway                                                       -
Suite 203
Schaumburg, IL 60173
                                                                                                                                                           26,000.00
Account No.                                                                      Loan

Exceleo Retail Services
1186 Dreaden Drive                                                           -
Hoffman Estates, IL 60172

                                                                                                                                                           35,000.00
Account No.                                                                      Purchases

FCA Flooring
1000 B Brookforest Ave                                                       -
Shorewood, IL 60404

                                                                                                                                                             4,500.00
Account No.                                                                      Collections

Financial Recovery Services Inc.
PO Box 385908                                                                -
Minneapolis, MN 55438-5908

                                                                                                                                                           19,656.00

           8
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           88,756.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Loan                                                    E
                                                                                                                                         D

Frank Kommenda
5320 Papaw Drive                                                             -
Naperville, IL 60564

                                                                                                                                                         100,000.00
Account No. xx l 461                                                             Judgment

Gary Rabine & Sons, Inc.
900 National Parkway                                                         -
Suite 260
Schaumburg, IL 60173
                                                                                                                                                         273,510.00
Account No.                                                                      Collections

GECRB
PO. BOX 960013                                                               -
Orlando, FL 32896

                                                                                                                                                           14,395.00
Account No.                                                                      Purchases

Good Call Plumbing
707 Herra St.                                                                -
Elburn, IL 60119

                                                                                                                                                           12,000.00
Account No. xxxxxxx5553                                                          Judgment

Harris Bank
11 W. Madison St.                                                            -
Chicago, IL 60603

                                                                                                                                                       3,277,460.00

           9
Sheet no. _____     24 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                       3,677,365.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xx ch 12                                                             Mortgage Deficiency                                     E
                                                                                 5N202 Shady Oaks Court                                  D

Harris Mortgage                                                                  St. Charles, IL 60175
111 West Monroe Street                                                       -
Chicago, IL 60690

                                                                                                                                                                   0.00
Account No. xx xh 799                                                            Judgment

Harvey Cement
16030 Park Avenue                                                            -
Harvey, IL 60426

                                                                                                                                                           42,000.00
Account No. xx xx 3888                                                           Judgment

Hilltop Cabinet Distributers, Inc.
1855 Wallace                                                                 -
Saint Charles, IL 60174

                                                                                                                                                             2,000.00
Account No.                                                                      Purchases

Horton Farms, LLC
dba Campton Ex                                                               -
825 Hicks Drive
Elburn, IL 60119
                                                                                                                                                           80,000.00
Account No.                                                                      Purchases

HRM Properties & Realty
651 Prarie Point Drive                                                       -
Suite 304
Yorkville, IL 60560
                                                                                                                                                           10,000.00

           10 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         134,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 1297                                                                 Purchases                                               E
                                                                                                                                         D

Huck Bouma PC
1755 Naperville road                                                         -
Suite 200
Wheaton, IL 60187
                                                                                                                                                           72,000.00
Account No. x xx x 3912                                                          Judgment

Ideal Mechanical
3n654 17th St.                                                               -
Saint Charles, IL 60174

                                                                                                                                                             4,500.00
Account No.                                                                      Tickets

Illinois Tollway
Attn:Attorney General Legal Dept.                                            -
2700 Ogden Ave.
Downers Grove, IL 60515
                                                                                                                                                             8,355.00
Account No.                                                                      Services

Indigo Properties, LLC
3826 Grand View Court                                                        -
Saint Charles, IL 60175-5663

                                                                                                                                                             4,266.00
Account No.                                                                      Purchases

Innovating Flooring Systems, Inc.
920 Davis Road                                                               -
Suite 100
Elgin, IL 60123
                                                                                                                                                               215.00

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Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           89,336.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xx xx 2319                                                           Mortgage Deficiency                                     E
                                                                                 5N202 Shady Oaks Court                                  D

Inviso Services                                                                  St. Charles, IL 60175
6n772 Tuscola Ave                                                            -
Saint Charles, IL 60174

                                                                                                                                                             9,565.00
Account No.                                                                  2006
                                                                             Mortgage Deficiency
IRS                                                                          5N202 Shady Oaks Court
Internal Revenue Service                                                 X J St. Charles, IL 60175
P.O. Box 7346
Philadelphia, PA 19101-7346
                                                                                                                                                         127,625.00
Account No.                                                                  2007
                                                                             Mortgage Deficiency
IRS                                                                          5N202 Shady Oaks Court
Internal Revenue Service                                                 X J St. Charles, IL 60175
P.O. Box 7346
Philadelphia, PA 19101-7346
                                                                                                                                                               590.00
Account No.                                                                  2008 & 2009
                                                                             Mortgage Deficiency
IRS                                                                          5N202 Shady Oaks Court
Internal Revenue Service                                                 X J St. Charles, IL 60175
P.O. Box 7346
Philadelphia, PA 19101-7346
                                                                                                                                                           50,278.00
Account No.                                                                      Purchases

Ives/Ryan Group
324 Eisenhower Lane                                                          -
Lombard, IL 60148

                                                                                                                                                               917.00

           12 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         188,975.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Loan                                                    E
                                                                                                                                         D

Jeff Dickey
105 Willis Avenue                                                            -
Rochelle, IL 61068

                                                                                                                                                           40,000.00
Account No.                                                                      Loan

Jerry Boose
4n657 Hidden Oakds Road                                                      -
Saint Charles, IL 60175

                                                                                                                                                       1,211,630.00
Account No.                                                                      Loan

John Reale
3826 Grand View Court                                                        -
Saint Charles, IL 60175

                                                                                                                                                           50,000.00
Account No.                                                                      NOTICE ONLY

JP Morgan
PO Box 659754                                                                -
San Antonio, TX 78265-9754

                                                                                                                                                                   0.00
Account No.                                                                    Mortgage Deficiency
                                                                               5N202 Shady Oaks Court
Kane County Treasurer                                                          St. Charles, IL 60175
719 South Batavia Avenue                                                     - 08-13-479-001
Build A
Geneva, IL 60134
                                                                                                                                                                   0.00

           13 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                       1,301,630.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 4512                                                                 Purchases                                               E
                                                                                                                                         D

Karsten Goettel
2000 McDonald Rd                                                             -
suite 200
South Elgin, IL 60177
                                                                                                                                                             6,000.00
Account No.                                                                      Purchases

Langston Snow Solutions, Inc.
4510 Dean St.                                                                -
Woodstock, IL 60098

                                                                                                                                                           16,000.00
Account No.                                                                      Collections

Lebow, Malecki & Tasch, LLC
230 West Superior St                                                         -
Suite 500
Chicago, IL 60654
                                                                                                                                                             2,071.00
Account No.                                                                      Purchases

Liberty Fire Protection Systems, In
4n949 Old Lafox road                                                         -
Unit B
Saint Charles, IL 60175
                                                                                                                                                             4,300.00
Account No. 6356                                                                 Purchases

LoopNet
1331 L Street NW                                                             -
Washington, DC 20005

                                                                                                                                                               790.00

           14 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           29,161.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Collections                                             E
                                                                                                                                         D

Magun Electric
201 Wilcox Dr                                                                -
Bartlett, IL 60103

                                                                                                                                                         120,000.00
Account No.                                                                      Collections

Mcarthy, Burgess & Wolf
26000 Cannon Rd                                                              -
Cleveland, OH 44146

                                                                                                                                                             2,863.00
Account No. xxxxx xxxxxxxx xx xxx 1240                                           Judgment

Midland MCM
8875 Aero Drive, Ste. 200                                                    -
San Diego, CA 92123

                                                                                                                                                           46,613.00
Account No.                                                                      Purchases

Midwest Promotional Group
PO box 190                                                                   -
West Chicago, IL 60185

                                                                                                                                                             2,500.00
Account No.                                                                      Purchases

Midwest Siding Supply
1001 Aucutt Rd.                                                              -
Montgomery, IL 60538

                                                                                                                                                           35,000.00

           15 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         206,976.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Collections                                             E
                                                                                                                                         D

MRS Associates of New Jersey
1930 Olney Ave                                                               -
Cherry Hill, NJ 08003

                                                                                                                                                           12,745.00
Account No. 0836                                                                 Loan

Nation Star
350 Highland Drive                                                           -
Lewisville, TX 75067

                                                                                                                                                         304,000.00
Account No.                                                                      NOTICE ONLY

National City Bank
Attn: Bankruptcy Department                                                  -
6750 Miller Rd.
Brecksville, OH 44141-3262
                                                                                                                                                                   0.00
Account No.                                                                      Collections

NCB Mangement Services Inc.
1 Allied Drive                                                               -
Feasterville Trevose, PA 19053-6945

                                                                                                                                                               235.00
Account No.                                                                      Collections

NCO Financial
PO Box 7602                                                                  -
Fort Washington, PA 19034

                                                                                                                                                           14,634.00

           16 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         331,614.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Collections                                             E
                                                                                                                                         D

Nikkos Res. Prof Services
c/o Stellar Recovery, Inc                                                    -
1327 Highway 2W, Ste 100
Kalispell, MT 59901
                                                                                                                                                             1,780.00
Account No. Multi Accounts                                                       Loan

Nimesha Cole
7025 Westwood Drive                                                          -
Carpentersville, IL 60110

                                                                                                                                                           50,000.00
Account No.                                                                      Collections

Northland Group
Bankruptcy Department                                                        -
7831 Glenroy Road, Suite 350
Edina, MN 55439
                                                                                                                                                             2,241.00
Account No.                                                                      Services

On-Site Computer Repairs of Norther
512 Illinois Street                                                          -
Geneva, IL 60134-1348

                                                                                                                                                             1,100.00
Account No.                                                                      Purchases

Peerless Fence
33w401 Roosevelt Road                                                        -
West Chicago, IL 60185

                                                                                                                                                           14,500.00

           17 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           69,621.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
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                 INCLUDING ZIP CODE,
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Play it Again Sam, LLC
1022 Douglass Road                                                           -
Oswego, IL 60543

                                                                                                                                                           25,000.00
Account No.                                                                      Collections

Plaza Associates
JAF Station                                                                  -
PO Box 2769
New York, NY 10116-2769
                                                                                                                                                               215.00
Account No. multi acct                                                           Collections

PNC Bank
One NCC Parkway                                                              -
Mail Code: 21-yb43-021
Kalamazoo, MI 49009
                                                                                                                                                       4,513,930.00
Account No.                                                                      Business Loan

PNC Bank
PO Box 340777                                                                -
Pittsburgh, PA 15230-7777

                                                                                                                                                         120,698.74
Account No. xxxxxx-5043                                                          1/10 - 4/12
                                                                                 Collections
Portfolio Recovery Associates
120 Corporate Blvd., Ste. 100                                                -
Norfolk, VA 23502

                                                                                                                                                           13,600.00

           18 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                       4,673,443.74
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Reinart Structures, Inc.
1208 Badger St.                                                              -
Yorkville, IL 60560

                                                                                                                                                             4,500.00
Account No.                                                                      Loan

Rich Winkler
620 Madison St.                                                              -
Batavia, IL 60510

                                                                                                                                                           40,000.00
Account No. xx- xx- 1577                                                         12/11
                                                                                 Judgment
Richard Finnegan
5N181 Shady Oaks Court                                                       -
Saint Charles, IL 60175

                                                                                                                                                             2,200.00
Account No. multi accounts                                                       Mortgage Deficiency
                                                                                 5N202 Shady Oaks Court
Ridge Stone Bank                                                                 St. Charles, IL 60175
13925 W North Ave                                                            -
Brookfield, WI 53005

                                                                                                                                                       4,164,798.00
Account No.                                                                      Loan

Roger Burnridge
1246 Willow Gate Lane                                                        -
Saint Charles, IL 60174

                                                                                                                                                         500,000.00

           19 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                       4,711,498.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Loan                                                    E
                                                                                                                                         D

Roger Burnridge
1247 Willow Gate Lane                                                        -
Saint Charles, IL 60174

                                                                                                                                                         135,000.00
Account No.                                                                      Loan

Rudolph Lang
39w260 Meadow View Court                                                     -
Saint Charles, IL 60175

                                                                                                                                                           25,000.00
Account No.                                                                      Collections

Sage Capital Recovery
1040 Kings Highway N.                                                        -
Cherry Hill, NJ 08034

                                                                                                                                                               122.00
Account No.                                                                      Loan

Scott Horton
4n010 Townhall Road                                                          -
Saint Charles, IL 60175

                                                                                                                                                           10,000.00
Account No.                                                                      Collections

Sprint Nextel Correspondence
Attn: Bankruptcy Dept.                                                       -
PO Box 7949
Overland Park, KS 66207-0949
                                                                                                                                                                   0.00

           20 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         170,122.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Purchases                                               E
                                                                                                                                         D

Sunshine Lighting
2312 W Main St.                                                              -
Saint Charles, IL 60175

                                                                                                                                                             1,500.00
Account No.                                                                      Purchases

Tak Drywall
6N517 Juniper Court                                                          -
Saint Charles, IL 60175

                                                                                                                                                           17,000.00
Account No.                                                                      Purchases

THD/CBNA
PO Box 6497                                                                  -
Sioux Falls, SD 57117-6497

                                                                                                                                                             1,200.00
Account No.                                                                      Purchases

The State Bank of Geneva
PO Box 108                                                                   -
Geneva, IL 60134

                                                                                                                                                             4,973.00
Account No.                                                                      Purchases

Tri County Glass
40w217 Fabyan Parkway                                                        -
Elburn, IL 60119

                                                                                                                                                           13,000.00

           21 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           37,673.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Services                                                E
                                                                                                                                         D

UPS
Lock Box 577                                                                 -
Carol Stream, IL 60132

                                                                                                                                                               148.00
Account No. 7233                                                             12/03 - 3/12
                                                                             Mortgage Deficiency
US Bank Home Mortgage                                                        5N202 Shady Oaks Court
4801 Frederica Street                                                    X J St. Charles, IL 60175                                           X
Owensboro, KY 42301

                                                                                                                                                         350,000.00
Account No. 9756                                                                 Collections

US Foodservice
PO Box 98420                                                                 -
Chicago, IL 60693-8420

                                                                                                                                                           13,562.00
Account No. xx-xx-xx5764                                                         8/11 - 11/11
                                                                                 Judgment
US Foodservice Inc.
c/o Teller Levit Silvertrust                                                 -
19 S. LaSalle St., #701
Chicago, IL 60603
                                                                                                                                                             3,238.00
Account No.                                                                      Collections

Valley Fire Protection
101 N Raddant Rd                                                             -
Batavia, IL 60510

                                                                                                                                                             2,940.00

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Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                         369,888.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Tracy A. Burnidge                                                                                    Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Mortgage Deficiency                                     E
                                                                                 5N202 Shady Oaks Court                                  D

Vistana Fountains II Condo                                                       St. Charles, IL 60175
PO Box 22051                                                                 -
Lake Buena Vista, FL 32830-2051

                                                                                                                                                             1,200.00
Account No.                                                                      Purchases

VNM, LLC
7408 N Milwaukee Ave                                                         -
Niles, IL 60714

                                                                                                                                                           24,000.00
Account No.                                                                      Services

Waste Management
2625 W Grandview Road                                                        -
Suite 150
Phoenix, AZ 85023
                                                                                                                                                             1,550.00
Account No. 1241                                                                 Purchases

Weller & Lengle, PC
2445 Dean Street                                                             -
Suite G
Saint Charles, IL 60175
                                                                                                                                                               125.00
Account No.                                                                      Collections

WELTMAN, WEINBERG & REIS Co.
3705 Marlane Drive`                                                          -
Grove City, OH 43123-8895

                                                                                                                                                           22,559.00

           23 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           49,434.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                     Case 15-20647                     Doc 1            Filed 06/15/15 Entered 06/15/15 09:14:21                             Desc Main           6/15/15 8:57AM
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Tracy A. Burnidge                                                                                          Case No.
                                                                                                                   ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                         B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R                                                                  E   D   D
                                                                                                                                            N   A
                                                                                                                                            T   T
Account No.                                                                      Loan                                                           E
                                                                                                                                                D

Werner Dietric
3818 Grand View Court                                                        -
Saint Charles, IL 60175

                                                                                                                                                                  50,000.00
Account No.                                                                      Loan

William Lang
1859 Brookdale Road                                                          -
Naperville, IL 60563

                                                                                                                                                                  25,000.00
Account No. 2005                                                                 Mortgage Deficiency
                                                                                 5N202 Shady Oaks Court
Wintrust Financial Corp.                                                         St. Charles, IL 60175
6262 S. Route 83                                                         X J                                                                        X
Willowbrook, IL 60527

                                                                                                                                                                125,000.00
Account No.




Account No.




           24 of _____
Sheet no. _____    24 sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                200,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)          19,460,431.74


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B6G (Official Form 6G) (12/07)


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  In re             Tracy A. Burnidge                                                                           Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                    Case 15-20647                     Doc 1            Filed 06/15/15 Entered 06/15/15 09:14:21            Desc Main           6/15/15 8:57AM
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B6H (Official Form 6H) (12/07)


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  In re          Tracy A. Burnidge                                                                        Case No.
                                                                                                  ,
                                                                                    Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR

                  Jerry Booke                                                          Wintrust Financial Corp.
                  4N657 Hidden Oaks Road                                               6262 S. Route 83
                  Saint Charles, IL 60175                                              Willowbrook, IL 60527
                                                                                         Home

                  Michelle Burnidge                                                    US Bank Home Mortgage
                  5N202 Shady Oaks Court                                               4801 Frederica Street
                  Saint Charles, IL 60175                                              Owensboro, KY 42301
                   ex-Wife                                                               1st Mortgage

                  Michelle Burnidge                                                    Wintrust Financial Corp.
                  5N202 Shady Oaks Court                                               6262 S. Route 83
                  Saint Charles, IL 60175                                              Willowbrook, IL 60527
                   ex-Wife                                                               2nd Mortgage

                  Michelle Burnidge                                                    IRS
                  5N202 Shady Oaks Court                                               Internal Revenue Service
                  Saint Charles, IL 60175                                              P.O. Box 7346
                   ex-wife                                                             Philadelphia, PA 19101-7346
                                                                                         Home

                  Michelle Burnidge                                                    IRS
                  5N202 Shady Oaks Court                                               Internal Revenue Service
                  Saint Charles, IL 60175                                              P.O. Box 7346
                   ex-wife                                                             Philadelphia, PA 19101-7346
                                                                                         home

                  Michelle Burnidge                                                    IRS
                  5N202 Shady Oaks Court                                               Internal Revenue Service
                  Saint Charles, IL 60175                                              P.O. Box 7346
                   ex-wife                                                             Philadelphia, PA 19101-7346
                                                                                         home




       0
               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      Tracy A. Burnidge

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Realestate Agent
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       American Nation Realty, Inc.

       Occupation may include student        Employer's address
                                                                   6N260 Woodland Drive
       or homemaker, if it applies.
                                                                   Saint Charles, IL 60175

                                             How long employed there?         3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        1,340.00     $              N/A

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      1,340.00           $       N/A




Official Form B 6I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Tracy A. Burnidge                                                                     Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         1,340.00      $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $                N/A
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $                N/A
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $                N/A
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $                N/A
      5e.    Insurance                                                                     5e.     $              0.00     $                N/A
      5f.    Domestic support obligations                                                  5f.     $              0.00     $                N/A
      5g.    Union dues                                                                    5g.     $              0.00     $                N/A
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $                N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $                N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,340.00      $                N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                N/A
      8b. Interest and dividends                                                           8b.     $              0.00     $                N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $                N/A
      8e. Social Security                                                                  8e.     $              0.00     $                N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify: Unemployment Benefits                                                8f.  $              962.00   $                   N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            962.00      $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,302.00 + $              N/A = $           2,302.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $          2,302.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                        page 2
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                                                                                                                                                       6/15/15 8:57AM
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Fill in this information to identify your case:

Debtor 1                 Tracy A. Burnidge                                                                  Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number                                                                                                          A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                        No
      dependents' names.                                                                                                                      Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                  0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                  0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                  0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                  0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                  0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
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Debtor 1     Tracy A. Burnidge                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                      0.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                      0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    350.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   350.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                     0.00
10.   Personal care products and services                                                   10. $                                                      0.00
11.   Medical and dental expenses                                                           11. $                                                     80.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    425.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                     60.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    212.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify:                                                                 17c. $                                                      0.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                    260.00
19.   Other payments you make to support others who do not live with you.                        $                                                     0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       2,737.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               2,302.00
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              2,737.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                 -435.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Tracy A. Burnidge                                                                              Case No.
                                                                                   Debtor(s)               Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           42
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 15, 2015                                                    Signature   /s/ Tracy A. Burnidge
                                                                                   Tracy A. Burnidge
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Tracy A. Burnidge                                                                                 Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $8,042.00                             2015
                          $0.00                                 2014
                          $0.00                                 2013

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE



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               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
    OF CREDITOR                                                         PAYMENTS                              AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                        DATES OF                                    PAID OR
                                                                        PAYMENTS/                                 VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                       AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                      NATURE OF         COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                      PROCEEDING        AND LOCATION                                      DISPOSITION
 US Foodservice Inc.                                                  Judgment          Circuit Court of Cook County                      Pending
 v.
 Tracy A. Burnidge
 11 M1 155764
 Richard Finnegan                                                     Judgment          Circuit Court of Cook County                      Pending
 v.
 Tracy Burnidge
 11 LM 1577
 12k014572
 US Bank National Associates                                          Collection        Kane County-Geneva, Il                            Pending
 vs
 Tracy Burnidge
 12 ch 2416




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                      NATURE OF     COURT OR AGENCY               STATUS OR
 AND CASE NUMBER                                                      PROCEEDING    AND LOCATION                  DISPOSITION
 Midland Funding                                                      Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 11 ark 1240
 2012k007594
 St. Charles Bank & Trust, Co.                                        Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 12 ch 1613
 Harris                                                               Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 2010k065553
 11 ch 12
 American Bank & Trust                                                Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 12 ch 3105
 Engineering Resource Assoc.                                          Collection    DuPage County, IL             Pending
 vs
 Tracy Burnidge
 11 sr 2377
 Hilltop Cabinet Distributors                                         Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 10 sc 3888
 Cannon Financial Services, Inc.                                      Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 10 ar 846
 Ideal Mechanical Corporation                                         Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 8 ch k 3912
 Harvey Cement Products, Inc.                                         Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 10 ch 799
 Gary Rabine & Sons, Inc.                                             Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 09 l 461
 Edward Don & Company                                                 Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 12 sc 3446
 Judson J Nilles                                                      Collection    Kane County, IL               Pending
 dba Inviso Services
 vs
 Tracy Burnidge
 11 ch 2319
 Ridgestone Bank                                                      Collection    Kane County, IL               Pending
 vs
 Tracy Burnidge
 9 ch 3719


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   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                   AMOUNT OF MONEY
 NAME AND ADDRESS                                                     NAME OF PAYER IF OTHER                            OR DESCRIPTION AND VALUE
     OF PAYEE                                                               THAN DEBTOR                                        OF PROPERTY
 David M. Siegel & Associates                                         5/10/12                                          $1,565.00
 790 Chaddick Drive
 Wheeling, IL 60090

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                           DATE                              AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                               DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                      TRANSFER(S)                IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                       AND AMOUNT OF FINAL BALANCE                             OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF



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               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                              NAME USED                                        DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                    DOCKET NUMBER                                    STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES
 Situs Business                                                      450 Shepard Drive            No Asssets                       2009 To 1/2012
 Brokers, Inc.                                                       Elgin, IL 60123              No A/R
                                                                                                  Registered Agent, Terry
                                                                                                  Donati, Elgin, IL.

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                    ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.




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 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                              NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                            RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                     NATURE OF INTEREST                               PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                     TITLE                                OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                     TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                        DATE AND PURPOSE                                 OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                               OF WITHDRAWAL                                    VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                             ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 15, 2015                                                   Signature   /s/ Tracy A. Burnidge
                                                                                  Tracy A. Burnidge
                                                                                  Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Tracy A. Burnidge                                                                                Case No.
                                                                                   Debtor(s)                 Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                   Lease will be Assumed pursuant to 11
 -NONE-                                                                                                    U.S.C. § 365(p)(2):
                                                                                                              YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 15, 2015                                                    Signature   /s/ Tracy A. Burnidge
                                                                                   Tracy A. Burnidge
                                                                                   Debtor




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Tracy A. Burnidge                                                                                Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,565.00
             Prior to the filing of this statement I have received                                        $                     1,565.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; filing of reaffirmation
                 agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for
                 avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances (except in Chapter 13
               cases), or any other adversary proceeding.
                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      June 15, 2015                                                       /s/ David M. Siegel
                                                                                 David M. Siegel
                                                                                 David M. Siegel & Associates
                                                                                 790 Chaddick Drive
                                                                                 Wheeling, IL 60090
                                                                                 (847) 520-8100




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This agreement acknowledges that the undersigned individual(s) [Client(s)] hereby retains and employs
the Law Firm of DAVID M, S1EGEL & ASSOCIATES [Attorney] for representation in a Chapter 7
bankruptcy case. In consideration for services rendered and to be rendered, the Client agrees to pay
Attorney as follows:

a) A FLAT FEE as specified in paragraph H will be required to file a bankruptcy petition for the
   Client and for representation of the Client through discharge. The fee includes all required court
   costs and filing fees, as well as compensation for Attorney's time and labor. The fee is immediate
   compensation for the firm's commitment to perform future services; the fee is property of the firm
   and may be deposited in the firm's operating or business account.

b) Representation shall begin upon execution of this agreement and tender of the initial payment, and
   will continue until the end of the case. The fee includes the preparation, review, and revision of the
   bankruptcy petition, communications with the Client, representation and appearance at the §341
   Meeting of Creditors and §2004 examinations as necessary, communication with the bankruptcy and
   United States trustees, communication with creditors, review and completion of reaffirmation
   agreements, and court appearances.

c) The fee does not include representation in any adversarial proceedings. The Client and Attorney
   may enter in to an additional agreement to provide for representation in an adversarial proceeding.
   In the event that the case is converted to another Chapter, there may be an additional fee.

d) Additional Fees:
   • A, fee of $250.00 shall be added in the event that Client misses the scheduled §341 Meeting of
      Creditors.
   • A fee of $100,00 shall be added to amend Schedules D, E, and F to include creditors who were
      not originally provided by the Client. The Client has the full responsibility to ensure that all
      creditors are listed,
   • A fee of $25.00 shall be added for any non-sufficient/returned checks. Post-dated checks are not
      accepted and will be voided upon receipt.
   • A fee of $820.00 shall be added to reopen a case and file the second credit counseling certificate
      if the Client fails to take the second credit counseling course and provide Attorney with the
      certificate in a timely fashion.

e) The Client will be billed on any outstanding balance at the rate of $100.00 every two weeks. Clients
   who fail to make payments as required will be assessed late fees in the amount of $25.00 per billing
   period plus interest at the rate of 18% per year on any unpaid balance.

f) No case shall be filed until all fees are paid in full.

g) In the event that a Client pays the flat fee in full, and later elects to not proceed with the case, the
   Client is entitled to a refund of the court costs and filing fees only.
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The Chapter 7 discharge order eliminates a Client's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different Chapter of the Bankruptcy Code and converted to a
Chapter 7, the discharge applies to debts owed when the bankruptcy case was converted.)


Some of the common types of debts which are not discharged in a Chapter 7 bankruptcy case are:
    a)Debts for most taxes;
    b)Debts that are in the nature of alimony, maintenance, or support;
    c)Debts for student loans;
    d)Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
    e)Debts for personal injuries or death caused by the Client's operation of a motor vehicle while
      intoxicated;
   f) Some debts that are not properly listed by the Client;
   g) Debts that the bankruptcy court specifically determines to be non-dischargeable;
   h) Debts for which the Client has given up the discharge protection by signing reaffimiation
      agreements in compliance with the Bankruptcy Code requirements for reaffirming debts.


   H.      The FLAT FEE for representation in this matter will be

Client acknowledge that he or she has read this agreement in its entirety, understands it fully, has had an
opportunity to ask questions regarding this agreement, is satisfied with it, and accepts it in its entirety.


Date:


                                                      Print;



Date:                                                 Signed!


                                                      Print:




                                      Signed:
                                            Attorney for David M. Siegel
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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois
 In re    Tracy A. Burnidge                                                                             Case No.
                                                                         Debtor(s)                      Chapter      7

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Tracy A. Burnidge                                                          X /s/ Tracy A. Burnidge                            June 15, 2015
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                              Date

Case No. (if known)                                                        X
                                                                               Signature of Joint Debtor (if any)             Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Tracy A. Burnidge                                                                           Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                182




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: June 15, 2015                                                   /s/ Tracy A. Burnidge
                                                                       Tracy A. Burnidge
                                                                       Signature of Debtor




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                      5/3 Bank
                      5050 Kingsley Dr. 1MOC2G
                      Cincinnati, OH 45263


                      Advanta
                      PO Box 9217
                      Old Bethpage, NY 11804-9217


                      Alessandra, Carlo & Joe D'Argento's
                      40w310 LaFox Road
                      Suite N2
                      Saint Charles, IL 60175


                      Allen, Maxwell & Silver, Inc.
                      190 Sylvan Ave
                      Englewood Cliffs, NJ 07632


                      Allied Waste
                      1565 Aurora Ave Lane
                      Aurora, IL 60505


                      Amcor Bank
                      PO Box 1957
                      Rockford, IL 61110


                      Amcore Bank
                      1210 S Alpine Road
                      Rockford, IL 61108


                      Amcore Bk
                      501 7th St.
                      Rockford, IL 61110


                      American Bank
                      2580 Foxfield Rd # 201
                      Saint Charles, IL 60174


                      American Bank & Trust
                      3730 18th Ave.
                      Rock Island, IL 61204


                      AMI Communications, Inc.
                      300 cardinal Drive
                      Suite 280
                      Saint Charles, IL 60175-6597
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                  Ariano, Hardy, Ritt, Nyuli, Richmon
                  2000 McDonald Road
                  Suite 200
                  South Elgin, IL 60177


                  Arnie Silvestri
                  243 Planters Row
                  Geneva, IL 60134


                  Arnold Scott Harris
                  111 W. Jackson, #600
                  Chicago, IL 60604


                  AT&T
                  Bankruptcy Dept
                  5407 Andrew Highway
                  Midland, TX 79706


                  AT&T
                  Bankruptcy Dept
                  6021 S. Rio Grande Ave, 1st Floor
                  Orlando, FL 32809-4613


                  AT&T
                  Bankruptcy Dept.
                  1585 Waukegan Road
                  Waukegan, IL 60085-6727


                  Bank of America
                  450 American St.
                  Simi Valley, CA 93065


                  Bank of America Home Loans
                  Correspondance/Bankruptcy Dept.
                  ca6-919-01-41 PO Box 5170
                  Simi Valley, CA 93062


                  Bank of America Home Loans
                  450 American St.
                  Simi Valley, CA 93065


                  BARCLAYSBANK
                  PO Box 8803
                  Attn:CREDIT BUREAU
                  Wilmington, DE 19899
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                  Batavia Can Co
                  1444 N Farnworth Ave
                  Suite 117
                  Aurora, IL 60505


                  Bayview Loan Servicing
                  Attn: Customer Service
                  4425 Ponce de Leon Blvd, 5th Floor
                  Coral Cables, FL 33146


                  Bayview Loan Servicing
                  62516 Collection Center Drive
                  Chicago, IL 60693-0625


                  Berkley Net Underwiters
                  12701 Marblestone Dr
                  Suite 250
                  Woodbridge, VA 22192


                  Blatt, Hasenmiller, Leibsker &Moore
                  125 S. Wacker Dr., Suite 400
                  Chicago, IL 60606


                  Borgans Painting
                  1046 Robinson St.
                  Elburn, IL 60119


                  Borhart Spellmeyer & Company
                  2205 Point Boulevard
                  Suite 160
                  Elgin, IL 60123


                  Burke, Warren, MacKay & Serritella,
                  330 N Wabash Ave
                  22nd Floor
                  Chicago, IL 60611-3607


                  Cananwill, Inc.
                  PO Box 7495
                  Carol Stream, IL 60197-4795


                  Cannon Financial Services
                  PO Box 4004
                  Carol Stream, IL 60197
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                  Capital Management Services
                  Bankruptcy Department
                  698 1/2 S. Ogden
                  Buffalo, NY 14206


                  Capital One
                  PO Box 85015
                  Richmond, VA 23285


                  Capital One
                  Bankruptcy Department
                  PO Box 30285
                  Salt Lake City, UT 84130


                  Carol Boose
                  4N657 Hidden Oaks Road
                  Saint Charles, IL 60175


                  Carson Smithfield, LLC
                  PO Box 9216
                  Old Bethpage, NY 11804


                  CBCS
                  Bankruptcy Department
                  PO Box 1810
                  Columbus, OH 43216


                  Chasecard
                  Bankruptcy Department
                  PO Box 15298
                  Wilmington, DE 19850


                  Christopher E Cannonito, Law Firm
                  15930 S 75th Court
                  Suite 100
                  Tinley Park, IL 60477


                  Citi
                  Attn: Bankruptcy Department
                  PO Box 6241
                  Sioux Falls, SD 57717


                  Citi
                  PO Box 6500
                  Sioux Falls, SD 57117-6500
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                  Citibank NA
                  PO Box 769006
                  San Antonio, TX 78245


                  CitiFinancial
                  1 PENNS WAY
                  New Castle, DE 19721


                  City of Geneva
                  155 First St.
                  Geneva, IL 60134


                  City of Geneva
                  22 South First Street
                  Geneva, IL 60134


                  Codilis & Associates
                  15W030 N. Frontage Rd.
                  Suite 100
                  Burr Ridge, IL 60527


                  Comcast
                  PO Box 3002
                  Southeastern, PA 19398-3002


                  Comcast
                  Bankruptcy Department
                  11621 E. Marginal Way 5
                  Tukwila, WA 98168-1965


                  Creative Masonry
                  1470 N Pembroke Drive
                  South Elgin, IL 60177


                  Dan O Connell
                  28 N First Street
                  Suite 3
                  Geneva, IL 60134


                  Dave Cotter
                  40w301 Route 64
                  Wasco, IL 60183
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                  Debtstoppers Bankruptcy Law Firm
                  1444 N Farnsworth Ave
                  Aurora, IL 60505


                  Delnor Community
                  c/o StCollsRv
                  2509 S. Stoughton Road
                  Madison, WI 53716


                  Delnor Community Hospital
                  Mail Processing Center
                  PO Box 739
                  Moline, IL 61266-0739


                  Drendel & Jansons Law Group
                  111 Flinn Street
                  Batavia, IL 60510


                  Dressler Peters, LLC
                  111 West Washington
                  Suite 1900
                  Chicago, IL 60602


                  Dykema Gossett PLLC
                  10 S. Wacker Drive
                  Suite 2300
                  Chicago, IL 60606


                  Eagle Concrete
                  1305 S River St.
                  Batavia, IL 60510


                  Edgerton & Edgerton, Attorney at La
                  125 Wood St.
                  West Chicago, IL 60186


                  Edward Don Company
                  9801 Adam Don Pkwy
                  Woodridge, IL 60517


                  Engineerig Resource Associates
                  35701 W Ave
                  Suite 150
                  Warrenville, IL 60555
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                  Engineering Resource Associates, In
                  3S701 West
                  Suite 150
                  Warrenville, IL 60555


                  Eric Jareczek
                  1951 Cobblestone Drive
                  Carpentersville, IL 60110


                  ETS Enviromental & Assoc.
                  1820 Wallace Ave
                  Suite 123
                  Saint Charles, IL 60174


                  Exceleo Group, Inc.
                  455 East State Parkway
                  Suite 203
                  Schaumburg, IL 60173


                  Exceleo Retail Services
                  1186 Dreaden Drive
                  Hoffman Estates, IL 60172


                  FCA Flooring
                  1000 B Brookforest Ave
                  Shorewood, IL 60404


                  Financial Recovery Services Inc.
                  PO Box 385908
                  Minneapolis, MN 55438-5908


                  Frank Kommenda
                  5320 Papaw Drive
                  Naperville, IL 60564


                  Gary Rabine & Sons, Inc.
                  900 National Parkway
                  Suite 260
                  Schaumburg, IL 60173


                  GECRB
                  PO. BOX 960013
                  Orlando, FL 32896
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                  Gilbert R. Dizon
                  Attorney at Law
                  524 W State Street
                  Geneva, IL 60134


                  Good Call Plumbing
                  707 Herra St.
                  Elburn, IL 60119


                  Guerald, Kalina & Butkus
                  310 S County Farm Road
                  Suite H
                  Wheaton, IL 60187


                  Harris Bank
                  11 W. Madison St.
                  Chicago, IL 60603


                  Harris Bank
                  345 S. Main St.
                  Lombard, IL 60148


                  Harris Bank
                  191 N Wacker Drive
                  Suite 1800
                  Chicago, IL 60606


                  Harris Mortgage
                  111 West Monroe Street
                  Chicago, IL 60690


                  Harvey Cement
                  16030 Park Avenue
                  Harvey, IL 60426


                  Hilltop Cabinet Distributers, Inc.
                  1855 Wallace
                  Saint Charles, IL 60174


                  Home Depot
                  Bankruptcy Department
                  PO Box 20483
                  Kansas City, MO 64195
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                  Home Depot Credit Services
                  PO Box 182676
                  Columbus, OH 43218-2676


                  Horton Farms, LLC
                  dba Campton Ex
                  825 Hicks Drive
                  Elburn, IL 60119


                  HRM Properties & Realty
                  651 Prarie Point Drive
                  Suite 304
                  Yorkville, IL 60560


                  Huck Bouma PC
                  1755 Naperville road
                  Suite 200
                  Wheaton, IL 60187


                  Ideal Mechanical
                  3n654 17th St.
                  Saint Charles, IL 60174


                  Illinois Tollway
                  Attn:Attorney General Legal Dept.
                  2700 Ogden Ave.
                  Downers Grove, IL 60515


                  Indigo Properties, LLC
                  3826 Grand View Court
                  Saint Charles, IL 60175-5663


                  Indigo Properties, LlC
                  40W320 La Fox Road
                  Suite E
                  Saint Charles, IL 60175


                  Innovating Flooring Systems, Inc.
                  920 Davis Road
                  Suite 100
                  Elgin, IL 60123


                  Inviso Services
                  6n772 Tuscola Ave
                  Saint Charles, IL 60174
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                  IRS
                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346


                  Ives/Ryan Group
                  324 Eisenhower Lane
                  Lombard, IL 60148


                  J Steven Butkus, Attorney at Law
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                  Suite h
                  Wheaton, IL 60187


                  JC Christensen and Associates
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                  Sauk Rapids, MN 56379


                  Jeff Dickey
                  105 Willis Avenue
                  Rochelle, IL 61068


                  Jerry Booke
                  4N657 Hidden Oaks Road
                  Saint Charles, IL 60175


                  Jerry Boose
                  4n657 Hidden Oakds Road
                  Saint Charles, IL 60175


                  Joel Nathan, Attorney at Law
                  219 S Dearborn
                  5th Floor
                  Chicago, IL 60604


                  John Reale
                  3826 Grand View Court
                  Saint Charles, IL 60175


                  JP Morgan
                  PO Box 659754
                  San Antonio, TX 78265-9754
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                  Kane County Treasurer
                  719 South Batavia Avenue
                  Build A
                  Geneva, IL 60134


                  Karsten Goettel
                  2000 McDonald Rd
                  suite 200
                  South Elgin, IL 60177


                  Kurt A Carlson, Attorney at Law
                  191 N Wacker Drive
                  Suite 1800
                  Chicago, IL 60606


                  Lamont, Hanley & Assoc
                  PO Box 179
                  Manchester, NH 03105-0179


                  Langston Snow Solutions, Inc.
                  4510 Dean St.
                  Woodstock, IL 60098


                  Lebow, Malecki & Tasch, LLC
                  230 West Superior St
                  Suite 500
                  Chicago, IL 60654


                  Liberty Fire Protection Systems, In
                  4n949 Old Lafox road
                  Unit B
                  Saint Charles, IL 60175


                  Lloyd & McDaniel, Attorney at Law
                  11405 Park road
                  Suite 200
                  Louisville, KY 40223-0200


                  LoopNet
                  1331 L Street NW
                  Washington, DC 20005


                  Magun Electric
                  201 Wilcox Dr
                  Bartlett, IL 60103
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                  Marcy L Buick, Attorney at Law
                  2040 Aberdeen Court
                  Sycamore, IL 60178


                  Martin J Wasserman
                  191 N Wacker
                  Suite 1800
                  Chicago, IL 60606


                  Mcarthy, Burgess & Wolf
                  26000 Cannon Rd
                  Cleveland, OH 44146


                  Michele Burnidge
                  5N202 Shady Oaks Court
                  Saint Charles, IL 60175


                  Michelle Burnidge
                  5N202 Shady Oaks Court
                  Saint Charles, IL 60175


                  Midland MCM
                  8875 Aero Drive, Ste. 200
                  San Diego, CA 92123


                  Midwest Promotional Group
                  PO box 190
                  West Chicago, IL 60185


                  Midwest Siding Supply
                  1001 Aucutt Rd.
                  Montgomery, IL 60538


                  MRS Associates of New Jersey
                  1930 Olney Ave
                  Cherry Hill, NJ 08003


                  Myler, Ruddy & McTavish
                  Attorney at Law
                  105 E Galena Blvd, 8th Floor
                  Aurora, IL 60505


                  Nation Star
                  350 Highland Drive
                  Lewisville, TX 75067
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                  Nation Star
                  PO Box 650783
                  Dallas, TX 75265


                  National City Bank
                  Attn: Bankruptcy Department
                  6750 Miller Rd.
                  Brecksville, OH 44141-3262


                  NCB Mangement Services Inc.
                  1 Allied Drive
                  Feasterville Trevose, PA 19053-6945


                  NCO Financial
                  PO Box 7602
                  Fort Washington, PA 19034


                  Nealis & Garrow, Pc
                  510 South Batavia Avenue
                  Batavia, IL 60510


                  Nikkos Res. Prof Services
                  c/o Stellar Recovery, Inc
                  1327 Highway 2W, Ste 100
                  Kalispell, MT 59901


                  Nimesha Cole
                  7025 Westwood Drive
                  Carpentersville, IL 60110


                  Northland Group
                  Bankruptcy Department
                  7831 Glenroy Road, Suite 350
                  Edina, MN 55439


                  On-Site Computer Repairs of Norther
                  512 Illinois Street
                  Geneva, IL 60134-1348


                  Peerless Fence
                  33w401 Roosevelt Road
                  West Chicago, IL 60185
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                  Pinnacle Credit Services
                  PO Box 640
                  Hopkins, MN 55343-0640


                  Play it Again Sam, LLC
                  1022 Douglass Road
                  Oswego, IL 60543


                  Plaza Associates
                  JAF Station
                  PO Box 2769
                  New York, NY 10116-2769


                  Plaza Associates
                  370 Seventh Avenue
                  New York, NY 10001


                  PNC Bank
                  One NCC Parkway
                  Mail Code: 21-yb43-021
                  Kalamazoo, MI 49009


                  PNC Bank
                  PO Box 340777
                  Pittsburgh, PA 15230-7777


                  PNC Mortgage
                  PO Box 340777
                  Pittsburgh, PA 15230


                  Portfolio Recovery Associates
                  120 Corporate Blvd., Ste. 100
                  Norfolk, VA 23502


                  Portfolio Recovery Associates
                  Bankruptcy Department
                  500 W. 1st Ave
                  Hutchinson, KS 67501-5222


                  Reinart Structures, Inc.
                  1208 Badger St.
                  Yorkville, IL 60560
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                  Rich Winkler
                  620 Madison St.
                  Batavia, IL 60510


                  Richard Finnegan
                  5N181 Shady Oaks Court
                  Saint Charles, IL 60175


                  Ridge Stone Bank
                  13925 W North Ave
                  Brookfield, WI 53005


                  Ridge Stone Bank
                  10N Martingale Road
                  Suite 100
                  Schaumburg, IL 60173


                  Roger Burnridge
                  1246 Willow Gate Lane
                  Saint Charles, IL 60174


                  Roger Burnridge
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                  Saint Charles, IL 60174


                  Ronald J. Hennings, PC
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                  Saint Charles, IL 60174


                  Ronald Roeser
                  Attorney at Law
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                  Elgin, IL 60123


                  Rudolph Lang
                  39w260 Meadow View Court
                  Saint Charles, IL 60175


                  Sage Capital Recovery
                  1040 Kings Highway N.
                  Cherry Hill, NJ 08034


                  Scott Horton
                  4n010 Townhall Road
                  Saint Charles, IL 60175
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                  Solomon & Leadley
                  320 E Indian Trail
                  Aurora, IL 60505-1760


                  Sprint Nextel Correspondence
                  Attn: Bankruptcy Dept.
                  PO Box 7949
                  Overland Park, KS 66207-0949


                  St. Charles Bank & Trust
                  411 W Main St
                  Saint Charles, IL 60174


                  State Farm Bank
                  Customer Service 003722347
                  One State Farm Plaza, A-1
                  Bloomington, IL 61710


                  State Farm Fncl Svcs F
                  Attention: Bankruptcy
                  Po Box 2328
                  Bloomington, IL 61702


                  State Farm Insurance
                  308 W Main St.
                  Carpentersville, IL 60110


                  Sunshine Lighting
                  2312 W Main St.
                  Saint Charles, IL 60175


                  Tab Investment Series, LLC
                  450 Shepard Drive
                  Suite 1
                  Elgin, IL 60123


                  Tak Drywall
                  6N517 Juniper Court
                  Saint Charles, IL 60175


                  Teller, Levit & Silvertrust, PC
                  19 S LaSalle
                  Suite 701
                  Chicago, IL 60603
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                  8th Floor
                  Chicago, IL 60603


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                  Naperville, IL 60563


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                  PO Box 108
                  Geneva, IL 60134


                  Tishler & Wald
                  200 S. Wacker #3000
                  Chicago, IL 60606


                  Tri County Glass
                  40w217 Fabyan Parkway
                  Elburn, IL 60119


                  UPS
                  Lock Box 577
                  Carol Stream, IL 60132


                  US Bank Home Mortgage
                  4801 Frederica Street
                  Owensboro, KY 42301


                  US Foodservice
                  PO Box 98420
                  Chicago, IL 60693-8420


                  US Foodservice Inc.
                  c/o Teller Levit Silvertrust
                  19 S. LaSalle St., #701
                  Chicago, IL 60603
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                  Valley Fire Protection
                  101 N Raddant Rd
                  Batavia, IL 60510


                  Vistana Fountains II Condo
                  PO Box 22051
                  Lake Buena Vista, FL 32830-2051


                  VNM, LLC
                  7408 N Milwaukee Ave
                  Niles, IL 60714


                  Waste Management
                  2625 W Grandview Road
                  Suite 150
                  Phoenix, AZ 85023


                  Weller & Lengle, PC
                  2445 Dean Street
                  Suite G
                  Saint Charles, IL 60175


                  WELTMAN, WEINBERG & REIS Co.
                  3705 Marlane Drive`
                  Grove City, OH 43123-8895


                  Werner Dietric
                  3818 Grand View Court
                  Saint Charles, IL 60175


                  William Lang
                  1859 Brookdale Road
                  Naperville, IL 60563


                  Wintrust Financial Corp.
                  6262 S. Route 83
                  Willowbrook, IL 60527
